









Dismissed and Memorandum Opinion filed February 17, 2005









Dismissed and Memorandum Opinion filed February 17,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01104-CV

____________

&nbsp;

CRYSTAL LYNN
BROWN, ET. AL, Appellants

&nbsp;

V.

&nbsp;

HEARTHWOOD II OWNERS ASSOCIATION, Appellee

&nbsp;



&nbsp;

On Appeal from the 270th District
Court

Harris County,
Texas

Trial Court Cause No. 03-35550

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed November 4,
2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellants did not make arrangements
to pay for the record.&nbsp; 

On January 21, 2005, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellants paid or made arrangements to pay for
the record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellants filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed February 17, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

&nbsp;





